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4
5    Attorney for Defendant
     Maria Magana
6
7
8                          IN THE UNITED STATES DISTRICT COURT
9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )        No. 2:02-cr-366 LKK
                                     )
13                  Plaintiff,       )
                                     )        STIPULATION AND ORDER VACATING
14        v.                         )        DATE, CONTINUING CASE, AND
                                     )        EXCLUDING TIME
15   JAIME GUERRA ROSAS              )
                    Defendant.       )
16                                   )        Date: AUGUST 2, 2005
     _______________________________ )        Time: 9:30 a.m.
17                                   )        Judge: Hon. LAWRENCE KARLTON
18
19          IT IS HEREBY STIPULATED by and between Assistant United States
20   Attorney William Wong, Counsel for Plaintiff, and Attorney Dina L.
21   Santos, Counsel for Defendant JAIME GUERRA ROSAS, that the change of
22   plea scheduled for July 26, 2005, be vacated and the matter be
23   continued to this Court's criminal calendar on August 2, 2005, at 9:30
24   a.m.
25          This continuance is requested by the defense in order to review
26   the plea agreement withe the defendant with a certified court
27   interpreter and to finalize the plea agreement.
28          IT IS FURTHER STIPULATED that time for trial under the Speedy
            Case 2:02-cr-00366-LKK Document 104 Filed 07/25/05 Page 2 of 2


1    Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
2    3161(h)(8)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
3    ends of justice served in granting the continuance and allowing the
4    defendant further time to prepare outweigh the best interests of the
5    public and the defendant in a speedy trial.
6          The Court is advised that all counsel have conferred about this
7    request, that they have agreed to the August 2, 2005 date, and that Mr.
8    Wong has authorized Ms. Santos to sign this stipulation on his behalf.
9          IT IS SO STIPULATED.
10
11   Dated: July 25, 2005                /S/ Dina L. Santos
                                             DINA L. SANTOS
12                                           Attorney for Defendant
                                             JAIME GUERRA ROSAS
13
14   Dated: July 25, 2005                /S/ William Wong
                                             WILLIAM WONG
15                                           Assistant United States Attorney
                                             Attorney for Plaintiff
16
17                                       O R D E R
18         IT IS SO ORDERED.
19                     By the Court,
20
21   Dated: JULY 25, 2005                    /s/ Lawrence K. Karlton
                                             HONORABLE LAWRENCE K. KARLTON
22                                           Senior, U.S. District Court Judge
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     Stipulation and Order                    2
